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Exhibit 5 - Citi Memo to Board Attaching Updated Power and Utilites M&A Fee Prec Page 1 of 6



                                        EXHIBIT 5

    Citi Memorandum to Board Attaching Updated Power and Utilities M&A Fee Precedents
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To:           FOMB / Natalie Jaresko

From:          Citi / John Gavin

Re:            Citi Advisory Engagement re: PREPA Transformation

Date:          November 9, 2020


On February 13, 2018, per the amendment of the original engagement letter, Citi was retained to act as lead
financial advisor in connection with the restructuring and privatization process of PREPA. In the context of this
assignment, Citi has committed significant time and resources represented (in summary) by the following:
     33+ months since start of engagement
     85+ roundtrips between New York and San Juan
     ~10,000 man hours dedicated to the transformation through November 2020
     50+ companies proactively contacted by Citi regarding the PREPA T&D RFP
     10+ relevant stakeholders / advisors along with 20+ PREPA employees provided input and feedback to
        Confidential Information Memorandum (“CIM”)
     40+ attendees from proponent teams across 3 management presentations held in Puerto Rico
     16 days dedicated for site visits / in-person diligence meetings held in Puerto Rico hosted for proponents
     675 responses to diligence questions submitted by proponents
     ~18,000 documents provided to proponents via data room
     21+ technical / financial diligence calls facilitated between proponents and PREPA and its advisors
     25+ contract discussion meetings / calls held with proponents
     50+ briefing presentations / analyses produced by Citi for FOMB and other stakeholders
     ~15 process documents, contracts and whitepapers reviewed, commented and negotiated by Citi
     5 parties submitted qualifications, 2 parties submitted proposals and 1 preferred proponent selected – all
        actively engaged by Citi throughout process

Over the course of the engagement, Citi has been critical in all aspects of the process, covering a wide range of
responsibilities:

Interactions with Stakeholders and Participants
     Provided process status updates and various briefings to keep FOMB apprised of relevant details
     Coordinated constantly across FOMB / Puerto Rico Government principals and advisors
     Met and engaged with wide range of Puerto Rico, federal and industry stakeholders, providing process
       updates and feedback
     Reached out to a host of companies capable of executing transformation objectives
     Participated in numerous meetings with various stakeholders including U.S. Treasury (including
       Secretary Mnuchin), FEMA, DOE, NYPA and LIPA
     Served as one of four FOMB / Puerto Rico Government witnesses in the approval process for PREPA’s
       RSA, providing multiple declarations and being deposed by creditors

Transaction Structuring
    Solicited market feedback through market sounding exercise on merits and key concerns of a PREPA
      privatization for both T&D and generation
    Evaluated T&D transaction structures – “Concession” vs. O&M – reflecting feedback from potential
      market participants and RSA considerations
    Reviewed and summarized LIPA precedent for application to PREPA context with particular focus on
      responsibilities, governance and oversight
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Transaction Documentation / P3 Process
    Drafted Request for Qualification (“RFQ”) materials, specifically positioning the opportunity and
      formulating threshold criteria for potential proponents, balancing desire for robust process and ensuring
      high-quality market participants
    Evaluated RFQ responses, focusing on financial and operational qualifications of proponents
    Drafted Request for Proposal (“RFP”) materials, formulating criteria used to evaluate submissions and
      relative weighting
    Evaluated RFP responses, focusing on financial aspects; highlighted key points of proposal details and
      negotiated down several financial terms, reducing rate
    impact to Puerto Rico
    Drafted sections of O&M agreement, reviewed and commented on broader O&M agreement, providing
      necessary industry and market context to broader advisory team
    Reviewed and evaluated all proponent contract comments and advocated for incorporation, where
      appropriate, to improve probability of execution

Due Diligence
    Drafted CIM and constructed financial model, actively working with PREPA and its advisors to
      accurately describe business / opportunity
    Reviewed white papers authored by other advisors and provided to proponents
    Prepared and conducted Management Presentations held in Puerto Rico; conducted dry runs with
      PREPA management presenters and provided feedback to improve impact
    Facilitated site visits across Puerto Rico and in-person diligence meetings between proponents and
      PREPA / other key stakeholders
    Facilitated diligence calls between proponents and PREPA on range of topics
    Organized Q&A process to address proponent diligence questions

Please find enclosed two exhibits for reference. Exhibit 1 has an overview timeline of multiple aspects of the
PREPA T&D transformation, within each Citi played a critical role. Exhibit 2 details precedent M&A fees for
transactions in the Power & Utilities sector.

The Citi team is available at your convenience to continue discussion, as warranted.
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Exhibit 1: PREPA T&D Process Timeline Overview

RFP / Proposal Milestones
   January 25, 2019: P3A shared non-disclosure agreement with bidders
   February 1, 2019: CIM finalized and RFP/Term Sheet finalized and approved by Partnership
      Committee for release to proponents
   February 15, 2019: Power Advocate platform online and Q&A process underway
   October 15, 2019: Bidders held meeting with PREB to discuss PREB-related matters
   December 6, 2019: Bidder A presented proposals to the Partnership Committee in New York City
   December 6, 2019: Bidder B presented proposals to the Partnership Committee in New York City
   December 12, 2019: Bidder A submitted a letter modifying and clarifying elements of its definitive
      proposal
   December 14, 2019: Bidder B submitted a letter modifying and clarifying elements of its definitive
      proposal
   January 11, 2020: The Partnership Committee selected Bidder A as the preferred proponent and sent
      notification letters to both bidders
   January 15, 2020: P3A and advisors met with Bidder A in New York to discuss final comments; an
      updated O&M Agreement was submitted to the Partnership Committee

Meetings in Puerto Rico
   April 3, 2019: Bidder B participated in PREPA management presentations
   April 4, 2019: O&M term sheet discussed with Bidder B; Bidder B participated in site visits
   April 8, 2019: Bidder C participated in PREPA management presentations
   April 9, 2019: Bidder C participated in site visits
   April 9, 2019: Bidder A participated in management presentations
   April 10, 2019: Bidder A participated in site visits
   June 10, 2019: Bidder A participated in site visits and management meetings held covering operational,
      financial, and regulatory topics
   June 11, 2019: Bidder A team members participated in site visits and management meetings held
      covering operational, financial, and regulatory topics
   June 12, 2019: Bidder A team members participated in site visits and management meetings held
      covering operational, financial, and regulatory topics
   June 12, 2019: Bidder B participated in site visits and management meetings held covering operational,
      financial, and regulatory topics
   August 8, 2019: PREPA Legal Risk Management Offices and T&D warehouses hosted site visits from
      Bidder A risk and insurance teams
   August 9, 2019: PREPA Emergency Dispatch and Fleet Management Offices hosted site visits from
      Bidder A risk and insurance teams
   October 29, 2019: Bidder B participated in site visits to call center, control room, and San Juan Power
      Plant
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Contract Discussions
    February 26, 2019: Term Sheet meeting held with Bidder B
    February 27, 2019: Term Sheet meeting held with Bidder A
    March 4, 2019: Term Sheet meeting held with Bidder C
    March 14, 2019: Initial draft O&M Term Sheet shared with Bidder B, Bidder A, and Bidder C
    June 25, 2019: Meeting held with Bidder A to discuss comments on O&M contract
    July 9, 2019: Meeting held with Bidder B to discuss comments on O&M contract
    September 23, 2019: Conference call held with Bidder A to discuss revised O&M contract
    September 30, 2019: Conference call held with Bidder B to discuss revised O&M contract
    October 7, 2019: Conference call held with Bidder B to discuss critical issues raised in markup of
      revised O&M contract
    October 10, 2019: Meetings held with Bidders to discuss bidder markup of the O&M contract
    November 11, 2019: Conference call held with Bidder B to discuss revised O&M contract
    December 3-4, 2019: Meetings with bidders held to discuss questions and comments regarding the
      revised O&M contract
    December 11, 2019: Meeting held between P3A and Bidder A to discuss final markup of O&M
      agreement
    December 19, 2019: P3A and the FOMB submitted follow up questions to proponents
    December 20, 2019: Bidder A and Bidder B submitted responses to follow up questions
    December 24, 2019: P3A submitted additional follow up questions to Bidder A
    December 26, 2019: Bidder A submitted responses to additional follow up questions
    January 15, 2020: In person discussion in New York
    January 30, 2020: Title III discussion with Bidder A
    February 13, 2020: Bidder A contract clarification discussion
    March 12, 2020: Bidder A contract negotiations

Diligence Calls
     March 18, 2019: Financial model review with Bidder C
     June 12, 2019: Financial due diligence sessions held with Bidder A
     June 13, 2019: Financial due diligence sessions held with Bidder B
     September 5, 2019: Due diligence call held with Bidder A to discuss generation matters and
       demarcation work performed to date
     September 5, 2019: Due diligence call held with Bidder B to discuss generation matters and
       demarcation work performed to date
     September 12, 2019: Federal funding due diligence meetings held with bidders
     October 10, 2019: Discussion held with Bidder A to discuss generation demarcation
     October 10, 2019: Discussion held with Bidder B to discuss generation demarcation
     October 10, 2019: Conference call held with Bidder B to discuss questions regarding the 10-year
       Reliability Capex plan
     October 10, 2019: Conference call held with Bidder A to discuss questions regarding the 10-year
       Reliability Capex plan
     October 14, 2019: Conference calls held with Bidder B to discuss labor matters Title III CBAs
     October 14, 2019: Conference calls held with Bidder A to discuss labor matters Title III CBAs
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Exhibit 2: Power & Utilities M&A Fee Precedents
                                                                                                               Buyside                          Sellside
                                                                                                          Deal Total                      Deal Total
                                                                                                                       % of                              % of
 Ann. Date                      Target                                     Acquirer                       Value Fee                      Value Fee
                                                                                                                       Value                             Value
                                                                                                          ($M) ($M)                       ($M) ($M)
  06/03/19      El Paso Electric Co                         Infrastructure Investments Fund                                              $5,866 $25.7 0.44%
  10/18/18      InfraREIT                                   Oncor Electric Delivery Company                                               1,275 13.8      1.08
  04/23/18      Vectren Corp                                CenterPoint Energy Inc                                                        8,089 32.3      0.40
  01/03/18      SCANA Corp                                  Dominion Energy Inc                                                          14,220 41.0      0.29
  10/30/17      Dynegy Inc                                  Vistra Energy Corp                            10,223      19.0      0.19     10,223 39.0      0.38
  08/18/17      Calpine Corp                                Calpine Corp SPV                                                             15,650 21.6      0.14
  07/19/17      Avista Corp                                 Hydro One Ltd                                                                 5,263 28.0      0.53
  03/07/17      TerraForm Global Inc                        Brookfield Asset Mgmt Inc                                                     1,094 21.1      1.93
  03/07/17      TerraForm Power Inc                         Brookfield Asset Mgmt Inc                                                     4,057 37.9      0.93
  01/25/17      WGL Holdings Inc                            AltaGas Ltd                                                                   6,584 36.0      0.55
  08/01/16      SolarCity Corporation                       Tesla Motors Inc                              5,270        7.0      0.13      5,270 14.4      0.27
  06/03/16      Talen Energy Corp                           Riverstone Holdings LLC                       5,200       10.0      0.19      5,200 25.0      0.48
  05/31/16      Westar Energy Inc                           Great Plains Energy Inc                       12,154      27.6      0.23     12,154 30.0      0.25
  02/09/16      Empire District Electric Co                 Liberty Utilities Co                                                          2,369 13.7      0.58
  02/09/16      ITC Holdings Corporation                    Fortis Inc.                                                                  11,305 45.9      0.41
  02/01/16      Questar Corporation                         Dominion Resources Inc.                                                       6,068 28.7      0.47
  10/26/15      Piedmont Natural Gas Co Inc                 Duke Energy Corp                                                              6,578 24.0      0.36
  09/04/15      TECO Energy Inc                             Emera Inc                                                                    10,361 34.5      0.33
  08/24/15      AGL Resources Inc                           Southern Co                                   11,797      33.0      0.28     11,797 34.5      0.29
  07/20/15      Vivint Solar Inc                            SunEdison Inc                                                                 1,757 17.8      1.01
  02/25/15      UIL Holdings Corp                           Iberdrola USA Inc                                                             4,666 22.4      0.48
  12/03/14      Hawaiian Electric Industries                NextEra Energy Inc                             4,375      16.0      0.37      4,375 30.0      0.69
  10/20/14      Cleco Corp                                  Investor Group                                                                4,667 29.0      0.62
  06/23/14      Integrys Energy Group Inc                   Wisconsin Energy Corp                          9,120      22.0      0.24      9,120 18.5      0.20
  04/30/14      Pepco Holdings                              Exelon Corporation                                                           12,186 28.9      0.24
  12/11/13      UNS Energy Corp                             Fortis Inc                                                                    4,489 16.5      0.37
  05/29/13      NV Energy Inc                               MidAmerican Energy Holdings Co                                               10,366 21.0      0.20
  07/22/12      GenOn Energy Inc                            NRG Energy Inc                                 4,047      20.0      0.49      4,047 15.0      0.37
  02/21/12      CH Energy Group Inc                         Cascade Acquisition Sub Inc                                                   1,464   6.2     0.42
  12/05/11      Entergy Corp-Elec Transmission              ITC Holdings Corp                              5,575      30.0      0.54
  06/20/11      Capital Power Income LP                     Atlantic Power Corp                            1,964      12.5      0.64
  04/28/11      Constellation Energy Group Inc              Exelon Corp                                                                  11,431      43.0      0.38
  04/20/11      DPL Inc                                     AES Corp                                                                      4,662      14.9      0.32
  12/15/10      Dynegy Inc                                  Icahn Enterprises LP                                                          2,953      23.0      0.78
  12/07/10      Nicor Inc                                   AGL Resources Inc                              2,983      16.0      0.54      2,983      13.0      0.44
  10/18/10      NSTAR Inc                                   Northeast Utilities                            6,930      31.7      0.46      6,930      17.0      0.25
  08/13/10      Dynegy Inc                                  Blackstone Group LP                                                           4,953      20.0      0.40
  04/11/10      Mirant Corp                                 RRI Energy Inc                                 2,082      27.5      1.32      2,082      30.0      1.44
  02/11/10      Allegheny Energy Inc                        FirstEnergy Corp                               8,944      35.0      0.39      8,944      23.0      0.26
  10/26/07      Puget Energy Inc                            Padua Holdings LLC                                                            6,717      15.0      0.22
  06/25/07      Energy East Corp                            Iberdrola SA                                                                  8,124      17.0      0.21
  02/26/07      TXU Corp                                    TXU Corp SPV                                                                 44,372      50.5      0.11
  02/07/07      Aquila Inc                                  Great Plains Energy Inc                        2,780      13.0      0.47
  09/15/06      LS Power Group                              Dynegy Inc                                     2,333      32.0      1.37
  04/25/06      NorthWestern Corp                           Babcock & Brown Infrastructure                                    1,972 17.2   0.87
  02/27/06      KeySpan Corp                                National Grid PLC                                                11,872 30.4   0.26
  05/09/05      Cinergy Corp                                Duke Energy Corp                                                 14,138 24.0   0.17
  12/20/04      Public Svc Enterprise Grp Inc               Exelon Corp                                   27,357 30.0   0.11 27,357 20.0   0.07
                                                                                         Mean             $7,243 $22.5 0.47% $8,183 $25.2 0.47%
                                                                                       Median             5,270 22.0    0.39  6,323 23.5   0.38
Source: Publicly available SEC filings.
Note: Analysis based on deals with transaction values of $1 billion+ since 2004. Excludes deals where only fee available is for a fairness opinion assignment. Fees
displayed may reflect multiple advisors.
